e 5:23-cv- 00h -R nO Oki -5 Filed 0/22 Page 1 of 1
icago “Tith lahoma
5617 N Classen Blvd., Suite 200, Oklahoma City, OK 73118

Phone: 405-848-2140 | FAX: 405-848-2305

Disbursements Summary

Settlement Date: October 18, 2017 Escrow No.: CTO-405-714051701271
Disbursement Date: October 18, 2017 Escrow Officer: Kaitlin Howard
Settlement Agent: Chicago Title Oklahoma Co. Place of Settlement: 5617 N Classen Blvd., Suite 200
405-848-2140 Oklahoma City, OK 73118
Buyer: Plains States Holdings, LLC Seller : Wazzan Properties, LLC
6300 Wilshire Blvd #970 2410 W Memorial Rd #308
Los Angeles, CA 90048 Oklahoma City, OK 73134
Lender: Property: 2520 NE 16th St

Oklahoma City, OK 73117

Policies to be Issued: ALTA Owner's Policy 2006 (Coverage $34,000.00)

RECEIPTS v
POSTED
Trans. Reference Trans. Deposit Memo/
Type Medium Number Date Number Code Payor Trans. From Amount
Wire(c) Wire 999005229 10/23/17 BA Plains States Holdings, Cash from Buyer 35,578.88
Cash To Close From Buyer 35,578.88
Jt Total POSTED Receipts (1): 35,578.88
Total Pending, Held and Posted Receipts (1): 35,578.88
DISBURSEMENTS
POSTED
Trans. Reference Trans. Memo/
Type Medium Number Date Code Payee Trans. To Amount
Check(c) Check 905010157 10/19/17 AB = Chicago Title of OK Co. FBO Wazzan Funds for 16,079.88
714051701245
———$}> Funds for 714051701245 16,079.88
L Transfer 405002178 10/19/17 A Chicago Title Oklahoma Co. REV201710CLOSED 1,460.00
Owner's Policy (Coverage $34,000.00) 215.00
Title - Abstract 550.00
Title - Closing Fee 250.00
Title - Final Certification Issuance for Title Insurance (Final Report) 120.00
Title - Settlement Services 150.00
Title - Title Exam Fee 175.00
L Transfer 405002257 10/26/17 A2 Chicago Title Oklahoma Co. REV201710CLOSED 69.00
Documentary Stamps 51.00
Recording Fees 13.00
Title - E-Recording Fee 5.00
Check(c) Check 905010156 10/19/17 SU _ Hale & Associates Survey Mortgage Inspection 140.00
Certificate
Mortgage Inspection Certificate 140.00
Check(c) Check 905010155 10/19/17 S Wazzan Properties, LLC Closing Proceeds 17,830.00
vy Cash To Seller 17,830.00
Total POSTED Disbursements (5): 35,578.88
Total Pending, Held and Posted Disbursements (5): 35,578.88
Order Summary
Total Posted Receipts minus Total Posted Disbursements: 0.00
Total Receipts (Pending, Held and Posted): 35,578.88
Total Disbursements (Pending, Held and Posted): 35,578.88
Balance: 0.00

Disbursements Summary (Legal) Page 1 of 1
SSCORP5102_CDF >> Printed on 06/18/20 at 7:45 am CST by Kaitlin Howard for profile 405 Nichols Hills
